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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

 Sandusky Wellness Center, LLC,                      Case No. 3:12 CV 1470

                                Plaintiff,           ORDER PRELIMINARILY APPROVING
                                                     CLASS ACTION SETTLEMENT AND
                 -vs-                                APPROVING CLASS NOTICE

 Heel, Inc.,                                         JUDGE JACK ZOUHARY

                                Defendant.


       This matter coming before the Court by stipulation of the parties and after review and

consideration of the Settlement Agreement, and the presentations of counsel, and the Court being duly

advised in the premises, it is hereby ordered:

       1.      On October 24, 2013, Plaintiff filed a Motion for Preliminary Approval of Class Action

Settlement Agreement and Notice to the Class (Doc. 77).

       2.      The Court hereby preliminarily certifies the following Class for purposes of settlement

only pursuant to Rule 23:

       All persons who (1) between June 11, 2008 and November 1, 2010, (2) were sent
       telephone facsimile messages of material advertising the commercial availability of
       any property, goods, or services by or on behalf of Defendant, and (3) which did not
       display a proper opt out notice.

Excluded from the Settlement Class are Heel, any parent, subsidiary, affiliate or controlled person of

Heel, as well as the officers, directors, agents, servants or employees of Heel and the immediate

family members of such persons, the named counsel in this litigation and any member of their office

and/or firm, any licensed insurance company, and the members of the federal judiciary. In their

Settlement Agreement, the parties have agreed that this is a proper class definition solely for purposes
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of settlement. The Court finds that the above settlement class definition satisfies the requirements of

Rule 23 in the context of the proposed settlement because: (1) the Class is so numerous that joinder

of all members is impracticable; (2) there are common questions of fact or law that predominate over

any questions affecting only individual members; (3) the claims of Plaintiff are typical of the claims

of the class members; (4) the proposed plaintiff and class counsel will fairly and adequately protect

the interests of the class; and (5) a class action is a superior method for the fair and efficient

adjudication of the controversy. Certification of the Settlement Class shall be solely for settlement

purposes and without prejudice to the parties in the event that the Settlement is not finally approved

by this Court or otherwise does not take effect in accordance with the terms of the Settlement

Agreement.

       3.      The Court appoints plaintiff, Sandusky Wellness Center, LLC, as the Class

Representative and appoints attorney Brian J. Wanca of Anderson + Wanca as Class Counsel.

       4.      Pursuant to Rule 23, the Court preliminarily approves the settlement of this action, as

embodied in the terms of the Settlement Agreement, as fair, reasonable, and in the best interests of

all those who will be affected by it.

       5.      The Settlement Agreement and all definitions contained therein (a copy of which was

previously filed as Doc. 77-1) is incorporated by reference into this Order (with capitalized terms as

set forth in the Settlement Agreement) and is hereby preliminarily adopted as an Order of this Court.

       6.      The Settlement Agreement proposes notice to the Class by fax in the form of Exhibit

2 to the Settlement Agreement, with a single direct mailing by U.S. mail to any Class member who

cannot be reached by fax after three attempts. The Court finds that this notice plan is reasonable and

satisfies Rule 23 and the requirements of due process under the United States Constitution. The plan




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is approved and adopted. The Court orders the parties to provide these notices to the Class through

the third-party claims administrator as proposed on or before November 8, 2013.

       7.      The Court sets deadlines and dates for the acts and events set forth in the Settlement

Agreement and directs the Parties to incorporate these deadlines and dates in the Class Notice:

       (a)    Requests by any Class member to opt out of the settlement must be filed on or
       before January 7, 2014, or be forever barred; and

       (b)     Objections and motions to intervene and all supporting memoranda shall be
       filed in this Court and postmarked and served on Class Counsel and Defendant’s
       counsel on or before January 7, 2014, or be forever barred; and

       8.      The Fairness Hearing, set forth in the Class Notice, is hereby scheduled for Monday,

March 10, 2014 at 1:30 p.m. in Room 203.

       IT IS SO ORDERED.

                                                         s/ Jack Zouhary
                                                     JACK ZOUHARY
                                                     U. S. DISTRICT JUDGE

                                                     November 1, 2013




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